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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OKLAHOMA

  1. Stacey Leon Ward,                           )
                                                 )
          Plaintiff,                             )
                                                 )
  vs.                                            )       Case No. 12-CV-046-GKF-TLW
                                                 )
  1. Aetna Life Insurance Company,               )
                                                 )
          Defendant.                             )


                       STIPULATION OF DISMISSAL WITH PREJUDICE

          COME NOW the parties and hereby stipulate that this case is dismissed with prejudice to its

  refiling.

                                               Respectfully submitted,


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